Order filed, September 02, 2016.




                                       In The

                     Fourteenth Court of Appeals
                                   ____________

                               NO. 14-16-00482-CV
                                 ____________

            KEN BIGHAM AND TRACY HOLLISTER, Appellant

                                         V.

     SOUTHEAST TEXAS ENVIRONMENTAL LLC, ET AL, Appellee


                    On Appeal from the 80th District Court
                             Harris County, Texas
                      Trial Court Cause No. 2007-55020


                                     ORDER

      The reporter’s record in this case was due July 13, 2016. See Tex. R. App.
P. 35.1. On July 22, 2016, this court ordered the court reporter to file the record
within 30 days. The record has not been filed with the court. Because the
reporter’s record has not been filed timely, we issue the following order.

      We order Michelle Tucker, the official court reporter, to file the record in
this appeal within 30 days of the date of this order. No further extension will be
entertained absent exceptional circumstances. The trial and appellate courts are
jointly responsible for ensuring that the appellate record is timely filed. See Tex.
R. App. P. 35.3(c). If Michelle Tucker does not timely file the record as ordered,
we will issue an order directing the trial court to conduct a hearing to determine the
reason for the failure to file the record.



                                     PER CURIAM
